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 8                             UNITED STATES DISTRICT COURT

 9                           NORTHERN DISTRICT OF CALIFORNIA

10 JERRETT BOEHNING, Individually and on            )   Case No. 3:21-cv-03671
   Behalf of All Others Similarly Situated,         )
11                                                  )   CLASS ACTION
                                 Plaintiff,         )
12                                                  )   NOTICE OF VOLUNTARY DISMISSAL
          vs.                                       )   PURSUANT TO FED. R. CIV. P. 41(a)(1)
13                                                  )
   CONTEXTLOGIC INC., et al.,                       )
14                                                  )
                                 Defendants.        )
15                                                  )

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     4839-6602-1875.v1
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 1            PLEASE TAKE NOTICE THAT plaintiff Jerrett Boehning hereby voluntarily dismisses his

 2 complaint without prejudice against all defendants. A class has not been certified in this action and

 3 no defendant in this action has served an answer or motion for summary judgment.

 4 DATED: July 26, 2021                             Respectfully submitted,

 5                                                  ROBBINS GELLER RUDMAN
                                                     & DOWD LLP
 6                                                  SHAWN A. WILLIAMS

 7

 8                                                                s/ Shawn A. Williams
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     NOTICE OF VOLUNTARY DISMISSAL - 3:21-cv-03671                                                   -1-
     4839-6602-1875.v1
         Case 3:21-cv-03671-JD Document 55 Filed 07/26/21 Page 3 of 4




 1                                      CERTIFICATE OF SERVICE

 2            I hereby certify under penalty of perjury that on July 26, 2021, I authorized the electronic

 3 filing of the foregoing with the Clerk of the Court using the CM/ECF system which will send

 4 notification of such filing to the e-mail addresses on the attached Electronic Mail Notice List, and I

 5 hereby certify that I caused the mailing of the foregoing via the United States Postal Service to the

 6 non-CM/ECF participants indicated on the attached Manual Notice List.

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                                                     55 Filed 07/26/21 Page 4 of 4
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